2 AO 121 (6/90)Case   3:22-cv-01210-K Document 12 Filed 08/26/22                                      Page 1 of 5 PageID 78
TO:

                 Register of Copyrights                                                            REPORT ON THE
                 Copyright Office                                                          FILING OR DETERMINATION OF AN
                 Library of Congress                                                              ACTION OR APPEAL
                 Washington, D.C. 20559                                                        REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                    COURT NAME AND LOCATION
        G
        ✔ ACTION          G APPEAL                                   United States District Court for the Northern District of Texas, Dallas
DOCKET NO.                     DATE FILED
                                                                     Division
3:22-cv-1210-K                 6/2/2022
PLAINTIFF                                                                        DEFENDANT

Strike 3 Holdings LLC                                                            John Doe
                                                                                 subscriber assigned IP address 76.186.147.252


       COPYRIGHT
                                                           TITLE OF WORK                                               AUTHOR O WORK
    REGISTRATION NO.

1                                (see attached)

2

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                  INCLUDED BY
                                        G Amendment                 G Answer               G Cross Bill            G Other Pleading
       COPYRIGHT
                                                           TITLE OF WORK                                               AUTHOR OF WORK
    REGISTRATION NO.

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    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                               WRITTEN OPINION ATTACHED                                      DATE RENDERED

            G Order       G Judgment                                     G Yes         G
                                                                                       ✔ No                               8/25/2022

CLERK                                                       (BY) DEPUTY CLERK                                             DATE
Karen Mitchell                                              s/ M. Arrington                                               8/26/2022

                 1) Upon initiation of action,               2) Upon filing of document adding copyright(s),      3) Upon termination of action,
                    mail copy to Register of Copyrights         mail copy to Register of Copyrights                   mail copy to Register of Copyrights
DISTRIBUTION:
                 4) In the event of an appeal, forward copy to Appellate Court                5) Case File Copy
                              Case
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                                                                                                    10
                                                          Exhibit A to the Complaint
Location: Garland, TX                                                                                    IP Address: 76.186.147.252
Total Works Infringed: 39                                                                                ISP: Spectrum
 Work      Hashes                                                                 UTC             Site          Published     Registered   Registration
 1         Info Hash: 76F95670FA20DDC51B0DA2B370811C85A77261AF                           05-20-   Vixen         09-24-2021    11-11-2021   PA0002321289
           File Hash:                                                                      2022
           F07BEB037C33C3900A5286CAE8445B4E99443F63E28A3B1FE01CCA53F259A240            03:40:58
 2         Info Hash: 0E4CACEDCCDF0CEAF44A2BE0EC857587D35EA57A                           05-20-   Blacked       11-20-2021    12-09-2021   PA0002325817
           File Hash:                                                                      2022
           CE825ED8394023946EA5073AD8CD9A7095F4B9B6F597C02D4CB498375948662B            03:27:20
 3         Info Hash: CD0A15EE3729AC75B93E7D7101EA9E80266492FB                           05-20-   Blacked       11-27-2021    02-03-2022   PA0002341770
           File Hash:                                                                      2022
           026F54F53E0E8FB3B27DCFEDAF9BF74136972B838CB5474AB7BDCBC98C321FD5            03:26:49
 4         Info Hash: 5DAC4AD0ACDE6DE76F2ECB3D6B40F615984D1643                           05-20-   Blacked       12-25-2021    01-17-2022   PA0002330103
           File Hash:                                                                      2022
           3C36AED1205981717F56BEDC1871A31D650DCB9E3DD3824CDE9852D18350235D            03:18:58
 5         Info Hash: 0EEED2F091967A7CF2C4B4EE547E47EA54BA3324                           05-20-   Blacked       01-15-2022    02-14-2022   PA0002335487
           File Hash:                                                                      2022
           8BAAB418BA29FBB190CCA77C6238E795FDFFFB2938BEEFBDF38B07741D64EEAD            03:17:00
 6         Info Hash: 1886519162C3C84528F05DF3EC3E4E21F17009AF                           05-20-   Blacked       05-02-2022    05-20-2022   PA0002350372
           File Hash:                                                                      2022   Raw
           B1F2DBBFBC3F581592B4629731C676B1FB3EA9B7B11997BF0F6EDD6B202EAB84            03:13:12
 7         Info Hash: EF42CFEB2B95887526FB35FF0857A2E33BFF215B                           05-20-   Blacked       02-19-2022    03-29-2022   PA0002342851
           File Hash:                                                                      2022
           31B8203AB96DA08D8A9129F6E09062291B380F6D8C1E1EDF63DF0D367E35F7BF            03:11:15
 8         Info Hash: 501BDA717A96D91FF3A8AE965AD6F2F6F4637FCA                           05-20-   Blacked       04-23-2022    05-20-2022   PA0002350376
           File Hash:                                                                      2022
           A00E8C27041DC90849C197EF8F4DCE5B99EAA5EE0DAC3DA3546455B6F4B04F9A            03:09:14
 9         Info Hash: 8338EEE7422DE5D14A74AB545A3CBF4757117CD7                           05-19-   Blacked       05-09-2022    05-20-2022   PA0002350381
           File Hash:                                                                      2022   Raw
           E737AA61BA0EF6FF81A090E7305FB22391FA070E202D2B1D9D388715E79F5304            21:52:51
 10        Info Hash: 01CA99FB6C0F82C781EDF1F3C85A16BA272591E2                           05-19-   Blacked       12-18-2021    01-17-2022   PA0002330124
           File Hash:                                                                      2022
           352B7BD6B445657FF119CF8AE50738B5898F6F4208344C6B79038BF4F0D9660E            20:41:58
 11        Info Hash: E012337CB067C9F14FB80B448FC4CFC55B70C880                           05-19-   Blacked       02-26-2022    03-29-2022   PA0002342860
           File Hash:                                                                      2022
           5F37C252898DFE75203BBCFEE4E7222A80CAE728C8B9D8A541634A10ED887249            20:29:56
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 86C8B9A29581CE28A478970013D7DB8A283401A0                   05-19-   Blacked   03-19-2022   03-29-2022   PA0002342841
       File Hash:                                                              2022
       F7F29758B9446364875C02ADC5DD9099CBA8EC0F1D09BBFBF1EEAEC6588B4885    20:28:14
13     Info Hash: 6BF27EB20DF3D1314583CFFC4C2EDAF57456DA3F                   05-19-   Blacked   07-29-2019   09-11-2019   PA0002214887
       File Hash:                                                              2022
       B33C85A41CE7B8B0145A635645D039974B7A8552D267B9421DF9743946831473    20:27:28
14     Info Hash: 45BD7EB6EC3A335403A10A66A52919DBE8FD0208                   11-20-   Blacked   02-14-2020   03-18-2020   PA0002241448
       File Hash:                                                              2021
       47593DA825F7E009DDDAFC9CE9441BCF2700161C4B34D88DAB2AD0E59273C81B    14:05:02
15     Info Hash: 58E59EA364F324296007E16F9F488A1E0DA5D933                   11-20-   Blacked   10-23-2021   11-11-2021   PA0002321276
       File Hash:                                                              2021
       9FF576136408AC0312144C093118DC1707CFC6B57A4825DD6A43896D0E78468D    03:12:10
16     Info Hash: 7762CBBE6C9FB1534FF0CF55C10E854AB3F7B0A6                   11-20-   Blacked   11-06-2021   11-11-2021   PA0002321284
       File Hash:                                                              2021
       BDDC682B3B47C3CDA898F2029A36EF5F25706CA537E8EDB40534C680C6A67E5C    03:11:41
17     Info Hash: 53DFAD25E14FFB1D5151685A90C174CE24B1BF05                   05-28-   Blacked   04-19-2021   04-27-2021   PA0002288984
       File Hash:                                                              2021   Raw
       641BF17828C09C914D56D1B9D789B3DB2CB5798E9CB02B5AD805F0BDC001CCD7    17:46:02
18     Info Hash: A985E7AC9C0F50A326C777C6E8DAC1A92A268746                   05-28-   Blacked   03-22-2021   04-14-2021   PA0002286722
       File Hash:                                                              2021   Raw
       F2E40788FEA4B9AE0E54288F770BB334B94EF717C56D9ADFCE5BF5D67D87F891    17:43:50
19     Info Hash: C69659587C2BC1049AD99AFEFB8863E9737F2B01                   05-28-   Vixen     05-07-2021   06-24-2021   PA0002303619
       File Hash:                                                              2021
       F33368857A7B6710A2C426BA638542C8209C5D102396BEB85B10A89A6CC91FC9    17:28:23
20     Info Hash: 38794030B4BB4CC919E087C25AE5D59D6D48B8EE                   05-28-   Blacked   02-27-2021   03-08-2021   PA0002280373
       File Hash:                                                              2021
       3088FB2726C52B5325B89F21E46D62070F10301B2B6CA4ECB5EF86D0CA89F650    17:10:32
21     Info Hash: 7AA7C3174036AFF009D853809B34A80AD514712B                   05-28-   Blacked   04-10-2021   06-09-2021   PA0002295605
       File Hash:                                                              2021
       4D5EA0D5B01CACCEBF166A44D4A257DF51402865F074343A7356E1160C37E125    17:07:00
22     Info Hash: 937A7E82157326EF5E7CD36C86A0A0EDACC0FF5F                   05-28-   Blacked   04-17-2021   06-09-2021   PA0002295585
       File Hash:                                                              2021
       F25B5FBD8E3FF914599D16AB4902E1E3C75E1BABBCCCFAFA1F2ACB124563B9DE    17:04:02
23     Info Hash: EC96A16222D3AF9FE6A0768B749B7AF65565CC6C                   05-28-   Blacked   05-07-2021   06-09-2021   PA0002295580
       File Hash:                                                              2021
       D3CC049A23371FEC710FAC46D4E20803BE46C18ACD5429AD72E17B4E84FF7811    17:03:50
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: 60912FB5E6ED2D944BC2B12CDB3C578461CB7A92                   10-04-   Blacked   06-27-2020   07-17-2020   PA0002248593
       File Hash:                                                              2020
       84BFA90EFD3942111D357DEF50858EBDD20DC494E07AE8EA35E2557C0139EECD    00:04:57
25     Info Hash: 6A0E4F47E6B770D53A96234596721B9EB309ABC5                   10-04-   Blacked   07-25-2020   08-11-2020   PA0002252256
       File Hash:                                                              2020
       7C515B5F023A5BB71D35A3A323BAC5736B51C521139A3189D8D070EAF8E0997A    00:02:25
26     Info Hash: 057D52E3AC118C1882812B3A5E3F2C3EA982FE8B                   10-03-   Blacked   08-22-2020   09-05-2020   PA0002255479
       File Hash:                                                              2020
       E8946DBE3E8A1E96194DDFF7F571C449F50845EB4C17CDC4866603F9AAD04350    23:55:37
27     Info Hash: 36A57DE50B3B4C121A8D5813DF183386A052247C                   06-18-   Blacked   04-04-2020   04-17-2020   PA0002237304
       File Hash:                                                              2020
       3053112F46CFC5C06D9720DDBE693A0923BAEBB472ADF3E1B4BB91BCFE098C4D    22:22:49
28     Info Hash: 7009AEB1FB8FA0E778B41D49423CDFC80AFDF62D                   06-18-   Blacked   04-18-2020   05-19-2020   PA0002241472
       File Hash:                                                              2020
       F6F25896450D77C9B994C19A02555EEB05D092E47D0C3BF0A30820FBE105B71F    22:20:54
29     Info Hash: 0C8BEC5D5EF72077A25D55E0CA99C0279C7FCDF2                   06-18-   Blacked   05-02-2020   05-19-2020   PA0002241471
       File Hash:                                                              2020
       97DAE7A5B270BD72C3DC2C8F62D0025168BC6BA69C91FBF2E0E54C2DD6A1FCD5    22:20:37
30     Info Hash: 73AE32099EBCDFF152626E1D575C026CF59135DC                   02-29-   Vixen     07-18-2019   09-10-2019   PA0002199410
       File Hash:                                                              2020
       33E9C45701015E4B864D2C4DD6D818BF2A8742FB4F11412D73F3F44F5F73D2E0    04:02:36
31     Info Hash: BCC18BD6272372F3CFC59A1BE674F61C4788F0CB                   02-29-   Blacked   02-24-2020   03-18-2020   PA0002241627
       File Hash:                                                              2020
       8A56C37DE8CCCDAA7BBD3EDFA4DC0F49439A4A4CCE0BED2C6768E4FC69BA25C0    03:51:06
32     Info Hash: FFE5224A5E3925847375F8E327267AC2B3148E49                   02-17-   Vixen     12-25-2019   01-03-2020   PA0002219640
       File Hash:                                                              2020
       5DDEDA2C21234E18A2388E4956D2DFAC0A8A6DA58AEE52EEDECD4A8DBE69AA33    05:01:42
33     Info Hash: 52442C2708E36E545755C2D0E288F4C913DDE003                   02-17-   Blacked   09-12-2019   09-25-2019   PA0002203159
       File Hash:                                                              2020
       099279FAB0CB709722E36CA4703FBC00BE876F9EA6F23108082898D12073FAFC    04:42:51
34     Info Hash: D688340236811F64E8637A5AFF159570F1648994                   02-17-   Blacked   09-22-2019   10-07-2019   PA0002205469
       File Hash:                                                              2020
       8F058136272BF47AE4215CB2C7439D489FF4E8E92AAD2E8DDDEBCE6296E789AD    04:39:30
35     Info Hash: 9CED871B3751A3B538A20DB265EBDFF8329EDC22                   02-17-   Blacked   11-06-2019   11-15-2019   PA0002211857
       File Hash:                                                              2020
       AAC8C4DFCD4077BE87A12502F7541B94C7A9D0028BEA14D483ADE7D0E3C7A272    04:33:45
                           Case
                           Case 3:22-cv-01210-G
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
36     Info Hash: 8340DF7A3A5C43A154B8A190F8EB6010786137E1                   02-17-   Blacked   01-10-2020   02-04-2020   PA0002225582
       File Hash:                                                              2020
       D43189B0C9E38B7CAC6D1348B018E82246553D9F71EC7532F1A1C1F5FB5A6A10    04:30:26
37     Info Hash: 3EFE1972448E3CEE7089031141791E80FEE4781A                   02-17-   Blacked   12-11-2019   01-03-2020   PA0002219628
       File Hash:                                                              2020
       9F6523E45B05993AEB8924EA5291A69C7E5DD3314526A39BE5C7444F0CE744CB    04:29:39
38     Info Hash: E9DB8BE26B56BFF69AC9279777644AE132988A8F                   02-17-   Blacked   11-25-2019   12-09-2019   PA0002216262
       File Hash:                                                              2020
       F83F1606590AC7256D37203AA4280E8892E6D55FE39E51AEFFF1693785E7D656    04:22:45
39     Info Hash: D33B55F4B260300934470B2571AA379EBBA73038                   02-17-   Vixen     12-10-2018   01-22-2019   PA0002149491
       File Hash:                                                              2020
       F0E5782553320D18CB6807FFCC6336787E80F1A914CA4025A654477F2DE835D0    03:25:50
